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                        EXHIBIT 41
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                                                                       EXHIBIT 41


 1                       THE UNITED STATES DISTRICT COURT

 2                            FOR THE DISTRICT OF OREGON

 3                                 MEDFORD DIVISION

 4

 5   ARNAUD PARIS,                          )
                                            )
 6                    Petitioner,          )    Case No. 1:22-cv-01593-MC
                                           )
 7                       V.                )
                                            )   December 5, 2022
 8   HEIDI MARIE BROWN,)
                       )
 9         Respondent. )
     _______________ )
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13                                    COURT TRIAL

14                    EXCERPT OF TRANSCRIPT OF PROCEEDINGS

15                  BEFORE THE HONORABLE MICHAEL J. MCSHANE

16                     UNITED STATES DISTRICT COURT JUDGE

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 1                                   APPEARANCES

 2   FOR THE PETITIONER:
                                DAVID B. STARKS
 3                              McKinley Irvin PLLC
                                1501 4th Avenue
 4                              Suite 1750
                                Seattle, WA 98101
 5

 6   FOR THE RESPONDENT:
                                KATELYN D. SKINNER
 7                              Buckley Law PC
                                5300 Meadows Road
 8                              Suite 200
                                Lake Oswego, OR 97035-8617
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15   COURT REPORTER:         Kendra A. Steppler, RPR, CRR
                             United States District Courthouse
16                           District of Oregon
                             405 E. 8th Avenue; Room 2100
17                           Eugene, OR 97401

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 1                 (Excerpt of proceedings began at 9:35 AM.)

 2

 3                THE COURT:     All right.     Let's hear from Petitioner.

 4                MR. STARKS:     Certainly, Your Honor.          As you're

 5   looking through the exhibit, I would first say that this

 6   isn't -- I mean, this isn't a decision tree email.                  I mean, the

 7   second page -- this is, I think, page 163, as we've designated

 8   Petitioner's exhibits.         You'll see at the top, on the third

 9   line down       or fourth line down -- indeed, Heidi's plan is to

10   remain in Oregon at the end of the upcoming school year, and to

11   tell Arnaud, once Oregon courts have acquired jurisdiction

12   within six months -- by January 2023                that she does not plan

13   to move back to France with the girls.              If he is unhappy with

14   that change, he'll have to file with Oregon courts.

15         So, I mean, this isn't a decision tree email.                 This is an

16   email saying here's what the plan is now that we've secured the

17   July agreement.

18         As for the overall admissibility of the document, Your

19   ,Honor, you know, we spent the time, so I provided the briefing,

20   on the legal issues and on the attorney-client privilege issue.

21   I think I could wrap the attorney-client privilege issue and

22   the fraud exception into the overall view of the Hague

23   Convention.      Because this Court has sort of a unique place in

24   the world when it hears these sorts of cases.

25         And Hague Convention Article 30 makes it very clear that


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 1   you sit in many ways in equity and not just in law.                 You're

 2   here to do fairness.       You're here to figure out what's right

 3   and to do what's right as well as you can.

 4         And so when you look at Article 30, any application

 5   submitted to the Central Authorities or directly to the

 6   Judicial or Administrative Authorities of the contracting

 7   state, in accordance with the terms of the Convention, together

 8   with documents and any other information appended thereto or

 9   provided by Central Authority, shall be admissible in the

10   courts or Administrative Authorities of the contracting state.

11         This is designed so that the Petitioner can bring forward

12   the evidence necessary for the Court to make some fundamental

13   decisions.     What is the habitual residence of the child?               Are

14   there any defenses to the return?           And so I think we get

15   it's easy, because we're lawyers, and we're used to the Kabuki

16   dance of what we usually do in these cases.               Right?    But this

17   isn't those usual cases.        This is those cases where you're

18   vested with a lot of authority to just do what's right.

19         And we have the information.          We've seen the email.         In

20   many ways, it's the kabuki dance of pretending we haven't seen

21   it anymore.      If we pretend we haven't seen it anymore -- the

22   facts are the facts -- right -- however they've developed.

23   Article 30 certainly says that this admissible because it was

24   appended to my petition.        And my petition was filed in complete

25   conformity with the Convention, and, therefore, it is


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 1      admissible.          Thank you, Your Honor.

 2                      THE COURT:          Okay.        I'm going to allow it in.                      I don't

 3      think I need to hear evidence of forensic investigators.                                          I

 4      don't think there's -- I don't have any huge doubt that, in

  5     fact, Ms. Brown did not consent to Mr. Paris going through her

  6     belongings.
  7             But it does·_:..§1:P_Bear to_!;&_ more ;than __ j_l!e_t __~~l§.ti~faT option
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14              If this Court actually does have broad equity, as

15       Petitioner suggests, under the Hague Act, I do think under that
16      kind of broad equity, in terms of what was the intent of the
17      parties, and in a matter which intent is so hard to get at,

18       this is a relevant document that does assist the Court.

19              Again, if the Petitioner -- or, excuse me -- the

20      Respondent -- I'll just probably say "mother" and "father."
21       It's easier.          If the mother in this case testifies consistently
22       that this was her thought, there's no reason to enter it.                                            If
23       she testifies inconsistently, I think it would come in under
24       the crime fraud exception.                    So that's where we are with that.
25              Okay.      Anything else as a preliminary matter?


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 1               MS. SKINNER:     Your Honor, if I may be heard just on

 2   the topic so that I have the record clear.                 I would like to

 3   offer, for the Court to consider and for evidence, our

 4   Exhibit 242, which is the counter surveillance report from our

 5   computer expert.

 6               THE COURT:     That's fine.       I just don't think it has

 7   any bearing on my decision about whether this is protected by

 8   the attorney-client privilege.           I don't know of any case that

 9   would say supression is required under this set of

10   circumstances.      It's not a criminal case.

11               MS. SKINNER:     Thank you, Your Honor.            And I would

12   also like to state that the crime fraud exception would be

13   applicable to -- if a crime had been committed or if fraud, as

14   defined under the criminal statute, had been perpetrated.                    And

15   here -- which has to do for pecuniary reasons, not just to

16   to -- to make it so that the individual is deceived.                   Fraud,

17   under the criminal definition, has to do, again, with deceit

18   for pecuniary gain.

19         This is a matter of contract, not a matter of whether a

20   crime or a fraud -- criminal fraud -- had been committed to

21   enter into the contract.        I would also object on the basis that

22   the email is hearsay.       There's no witness authenticating the

23   email, and, again, would object under attorney --

24               THE COURT:     Well, your client could authenticate the

25   email.    I mean, I haven't admitted it yet.               But they are going


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 1   to move to admit it.        I mean, if you're telling me your

 2   client's going to say, "I have no idea what this is, I'm

 3   completely shocked," we probably need to have that discussion.

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 5                 (Excerpt of proceedings ended at 9:43 AM.)

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 1                             C E R T I F I CA T E
 2

 3                      Arnaud Paris v. Heidi Marie Brown
 4                                l:22-cv-01593-MC
 5                              Court Trial Excerpt
 6                                December 5, 2022
 7

 8         I certify, by signing below, that the foregoing is a true
 9   and correct transcript of the record, taken by stenographic
10   means, of the proceedings in the above-entitled cause.                    A
11   transcript without an original signature, conformed signature,
12   or digitally signed signature is not certified.
13
14   /s/Kendra A. Steppler, RPR, CRR
     Official Court Reporter                  Signature Date: 1/10/2023
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